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 1   DAYLE ELIESON
     United States Attorney
 2   District of Nevada
     ROBERT KNIEF
     Assistant United States Attorney
 3   501 Las Vegas Boulevard South, Suite 1100
     Las Vegas, Nevada 89101
 4   702-388-6336
     robert.knief@usdoj.gov
 5
     Representing the United States of America
 6

 7                     UNITED STATES DISTRICT COURT
 8
                            DISTRICT OF NEVADA
                                                  -oOo-
 9
     UNITED STATES OF AMERICA,                      )
                                                    ) Case No. 2:15-cr-00280-RCJ-PAL
10                                                  )
                     Plaintiff,
                                                    ) NOTICE OF APPEARANCE
11                                                  )
            vs.                                     )
12                                                  )
     REGINALD ASUNCION, et al.,                     )
                                                    )
13
                    Defendant.                      )
                                                    )
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15
            The United States of America, by and through the undersigned Assistant United States
16
     Attorney, hereby notifies the Court that Robert Knief, Assistant United States Attorney has been
17
     assigned as counsel in the above captioned case.
18
            Dated this 13th day of November, 2018.
19
                                                        Respectfully Submitted,
20                                                      DAYLE ELIESON
                                                        United States Attorney
21

22                                                      /s/ Robert Knief
                                                        ROBERT KNIEF
23                                                      Assistant United States Attorney

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 1                          CERTIFICATE OF ELECTRONIC SERVICE

 2              This is to certify that the undersigned has served counsel for Defendant’s with the

 3   foregoing by means of electronic filing.

 4              Dated this 13th day of November, 2018

 5

 6                                                /s/ Robert Knief
                                                  ROBERT KNIEF
 7                                                Assistant United States Attorney

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